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                               UNITED STATES DISTRICT COURT
                       IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        MIAMI DIVISION


    HYDENTRA L.P. HLP GENERAL
    PARTNER, INC., a foreign corporation, d/b/a                      Case No.
    METART d/b/a SEXART;                                       1:15-cv-24293-MGC
    HYDENTRA HLP INT. LIMITED, a foreign
    corporation, d/b/a METART d/b/a SEXART;
    and HYDENTRA LP, a foreign corporation,
    d/b/a METART d/b/a SEXART,

         Plaintiffs,

    v.

    ERA TECHNOLOGIES, LTD, a British
    Virgin Islands company, individually and
    d/b/a DRTUBER.COM and d/b/a
    DRTST.COM;
    IGOR KOVALCHUCK, individually and
    d/b/a DRTUBER.COM and d/b/a
    DRTST.COM;
    WEBZILLA INC.;
    WZ COMMUNICATIONS, INC.; and
    John Does 1-20,

         Defendants.


   WEBZILLA INC. AND WZ COMMUNICATIONS, INC.’S ANSWER TO COMPLAINT
      FOR DAMAGES, INJUNCTIVE RELIEF AND DEMAND FOR JURY TRIAL

            The Internet Service Provider Defendants Webzilla Inc. and WZ Communications, Inc.

   (“ISP Defendants”), for their Answer to the Complaint for Damages, Injunctive Relief and

   Demand for Jury Trial of Plaintiffs Hydentra L.P. HLP General Partner, Inc., Hydentra HLP Int.

   Limited and Hydentra LP (“Plaintiffs”) answer as follows:




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                                   JURISDICTION AND VENUE

          1.      ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          2.      ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          3.      ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          4.      ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          5.      ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          6.      ISP Defendants admit only that Webzilla, Inc. is a corporation incorporated in

   Florida and that Constantin Luchian is the DMCA agent for Webzilla, Inc. ISP Defendants deny

   the remaining allegations in this paragraph. In answering further ISP Defendants specifically

   state that Webzilla Inc. does not host DrTuber.com or Drtst.com whether in Florida or

   California or elsewhere. ISP Defendants state further that they do not direct, control, or assist in

   determining the content on the DrTuber.com or Drtst.com websites. Even if the other

   Defendants were clients of Webzilla, Inc., Webzilla, Inc. provides server space only to its clients

   (though not to DrTuber.com or Drtst.com) and has no control or knowledge over the content of

   its clients’ websites. Answering further, ISP Defendants state that Constantin Luchian is not an

   executive of Webzilla, Inc.

          7.      ISP Defendants admit only that WZ Communications Inc. is a corporation

   incorporated in Florida and that Constantin Luchian is the DMCA agent for WZ



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   Communications Inc. ISP Defendants deny the remaining allegations in this paragraph. In

   answering further ISP Defendants specifically state that WZ Communications Inc. does not host

   DrTuber.com or Drtst.com whether in Florida or California or elsewhere. ISP Defendants

   state further that they do not direct, control, or assist in determining the content on the

   DrTuber.com or Drtst.com websites. Even if the other Defendants were clients of WZ

   Communications Inc., WZ Communications Inc. provides internet connectivity only (though not

   to DrTuber.com or Drtst.com) and has no control or knowledge over the content of its clients’

   websites. Answering further, ISP Defendants state that Constantin Luchian is not an executive

   of either ISP Defendant.

           8.     ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           9.     ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           10.    ISP Defendants state that this allegation is so ambiguous and incomprehensible

   that it is impossible for ISP Defendants to appropriately admit or deny the allegations of this

   paragraph and therefore deny the same.

           11.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny




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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           12.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           13.    This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary to the remaining portions of this paragraph: ISP

   Defendants admit only that the ISP Defendants transact business in this Judicial District and

   deny the remaining allegations of this paragraph as they relate to ISP Defendants. ISP

   Defendants are without sufficient information or knowledge to admit or deny the allegations of

   this paragraph as they relate to the other Defendants and therefore deny the same.

           14.    This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

           15.    This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

           16.    This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.




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          17.     This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

          18.     This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

                                              PARTIES

          19.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          20.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          21.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          22.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          23.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          24.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          25.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          26.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.



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           27.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           28.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           29.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           30.    ISP Defendants deny the allegations of this paragraph. In answering further ISP

   Defendants state that they are not even Internet Service Providers for Drtuber.com or

   Drtst.com and are not beneficiaries or operators of Drtuber.com or Drtst.com, nor do they

   direct, control or assist in determining the content displayed on drtuber.com, whether directly

   or through assigns.

           31.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           32.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           33.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.



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           34.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           35.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           36.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           37.    This paragraph contains a conclusion of law to which no responsive pleading is

   necessary, but to the extent a response is deemed necessary: ISP Defendants deny the allegations

   of this paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient

   information or knowledge to admit or deny the allegations of this paragraph as they relate to the

   other Defendants and therefore deny the same.

           38.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           39.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.




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                                      STATEMENT OF FACTS

           40.    This paragraph contains only conclusions of law, speculation and legal argument,

   requiring no response. However, to the extent a response is deemed necessary, ISP Defendants

   deny the allegations of this paragraph.

           41.    This paragraph contains only conclusions of law, speculation and legal argument,

   requiring no response. However, to the extent a response is deemed necessary, ISP Defendants

   deny the allegations of this paragraph.

           42.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           43.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           44.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           45.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           46.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny



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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           47.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           48.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           49.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           50.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           51.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           52.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           53.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.




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           54.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           55.    ISP Defendants deny the allegations of this paragraph.

           56.    ISP Defendants deny the allegations of this paragraph.

           57.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           58.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           59.    This paragraph contains only general statements concerning the operation and

   functioning of the internet as a whole which may or may not be true in any given instance and, as

   such, defy an ability to admit or deny. However, to the extent a response is deemed necessary,

   ISP Defendants deny the allegations of this paragraph.

           60.    This paragraph contains only general statements concerning the operation and

   functioning of the internet as a whole which may or may not be true in any given instance and, as

   such, defy an ability to admit or deny. However, to the extent a response is deemed necessary,

   ISP Defendants deny the allegations of this paragraph.

           61.    This paragraph contains only general statements concerning the operation and

   functioning of the internet as a whole which may or may not be true in any given instance and, as




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   such, defy an ability to admit or deny. However, to the extent a response is deemed necessary,

   ISP Defendants deny the allegations of this paragraph.

           62.    This paragraph contains only general statements concerning the operation and

   functioning of the internet as a whole which may or may not be true in any given instance and, as

   such, defy an ability to admit or deny. However, to the extent a response is deemed necessary,

   ISP Defendants deny the allegations of this paragraph.

           63.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           64.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           65.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           66.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.




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           67.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           68.    ISP Defendants deny the allegations of this paragraph.

                                         COUNT I
                       Copyright Infringement – 17 U.S.C. § 101 et. seq.
      Against Igor Kovalchuck and Doe Defendants (Owners/Operators of Dr. Tuber.com)

           69.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants repeat, re-state and incorporate by reference their

   responses to paragraphs 1 through 68 above and further respond that:

           70.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants are without sufficient information or knowledge

   to admit or deny the allegations of this paragraph and therefore deny the same.

           71.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants are without sufficient information or knowledge

   to admit or deny the allegations of this paragraph and therefore deny the same.

           72.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

           73.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they



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   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          74.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, this Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, , ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          75.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          76.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          77.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to



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   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          78.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary, but to the extent a response is deemed necessary: This Count is not brought against

   ISP Defendants, but to the extent that a response is deemed necessary, ISP Defendants deny the

   allegations of this paragraph as they relate to ISP Defendants. ISP Defendants are without

   sufficient information or knowledge to admit or deny the allegations of this paragraph as they

   relate to the other Defendants and therefore deny the same.

          79.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          80.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          81.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.



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          82.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          83.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          84.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          85.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          86.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a



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   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          87.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          88.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, this paragraph contains conclusions of law for which no response

   is required. But to the extent a response is deemed necessary, ISP Defendants deny the

   allegations of this paragraph as they relate to ISP Defendants. ISP Defendants are without

   sufficient information or knowledge to admit or deny the allegations of this paragraph as they

   relate to the other Defendants and therefore deny the same.

          89.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, this paragraph contains conclusions of law for which no response

   is required. But to the extent a response is deemed necessary, ISP Defendants deny the

   allegations of this paragraph.

          WHEREFORE, ISP Defendants pray for the following relief:

          A.      That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;



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           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.

                                            COUNT II
                                Contributory Copyright Infringement
                                       Against All Defendants

           90.    ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 90 above and further respond that:

           91.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           92.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           93.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           94.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.



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           95.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           96.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           97.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           98.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           99.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.




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           100.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           101.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           102.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           103.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.     That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;

           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.




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                                             COUNT III
                                  Vicarious Copyright Infringement
                                       Against All Defendants

           104.   ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 103 above and further respond that:

           105.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           106.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           107.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           108.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           109.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny




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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           110.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           111.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           112.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           113.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.     That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;

           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and



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           C.     For such further relief as the Court deems just and proper.

                                           COUNT IV
                               Inducement of Copyright Infringement
                                      Against All Defendants

           114.   ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 113 above and further respond that:

           115.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           116.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           117.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           118.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           119.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny



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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           120.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           121.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           122.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.     That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;

           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.




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                                        COUNT V
                     Trademark Infringement – 15 U.S.C. §§ 1111 et. seq.
      Against Igor Kovalchuck and Doe Defendants (Owners/Operators of Dr. Tuber.com)

          123.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants repeat, re-state and incorporate by reference their

   responses to paragraphs 1 through 122 above and further respond that:

          124.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, this paragraph contains conclusions of law for which no response

   is required. But to the extent a response is deemed necessary, ISP Defendants deny the

   allegations of this paragraph.

          125.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          126.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          WHEREFORE, ISP Defendants pray for the following relief:

          A.      That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;




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           B.      That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.      For such further relief as the Court deems just and proper.

                                          COUNT VI
                  Contributory Trademark Infringement – 15 U.S.C. §§ 1111 et. seq.
                                     Against all Defendants

           127.    ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 126 above and further respond that:

           128.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           129.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           130.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.      That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;

           B.      That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and



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           C.     For such further relief as the Court deems just and proper.

                                           COUNT VII
           False Designation of Origin under the Lanham Act – 15 U.S.C. §§ 1125 et. seq.
                                      Against all Defendants

           131.   ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 130 above and further respond that:

           132.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           133.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           134.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.     That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;




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           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.

                                          COUNT VIII
                   Unauthorized Publication of Name and Likeness in Violation
                               of Section 540.08, Florida Statutes
                                     Against all Defendants

           135.   ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 130 above and further respond that:

           136.   ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           137.   ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           138.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           139.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           140.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

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           141.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           142.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.      That judgment enter for ISP Defendants and against Plaintiffs with respect to this

   Count and that Plaintiffs’ requested relief be denied in its entirety;

           B.      That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.      For such further relief as the Court deems just and proper.

                                           GENERAL DENIAL

           Each and every allegation of the Complaint not specifically admitted is hereby denied.

                   AFFIRMATIVE DEFENSES AND ADDITIONAL DENIALS

           1.      The Complaint is barred, in whole or in part, by the doctrine of copyright misuse.

   Specifically, but without limitation, Plaintiffs’ filing of this case, putative strategies for

   protecting their copyrights, general litigation strategies and intentional disregard of the Digital

   Millennium Copyright Act (“DMCA”) (including the rights and safeguards it affords to both

   copyright owners and internet service providers) show a clear intent by Plaintiffs to use their

   copyrights for a purpose other than which they were intended. Specifically, but without

   limitation, Plaintiffs are using their copyrights and this lawsuit (along with a score of other



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   lawsuits filed around the country) to extract settlement payments from innocent parties like ISP

   Defendants, instead of working within the structures of the DMCA to properly protect their

   copyrights. On information and belief, over the course of 12 months, the Plaintiffs have filed

   almost a dozen near-identical litigations seeking not to protect their legitimate rights, but rather

   because they seek to use the harassment value of such litigations as a way to secure lucrative

   settlements from the defendants. The Plaintiffs’ actions in failing to follow the DMCA’s

   takedown process or work cooperatively with defendants to ensure the removal of allegedly

   infringing materials are not the actions of rightsholders looking to legitimately protect their

   interests. Additionally, on information and belief, the Plaintiffs made no effort to consider

   whether the individuals who posted materials to websites referenced in the Complaint were

   protected by the doctrine of fair use.

          2.      The Complaint is barred, in whole or in part, and Plaintiffs are barred from

   equitable recovery, by the doctrine of unclean hands. Specifically, but without limitation,

   Plaintiffs’ filing of this case, putative strategies at protecting their copyrights, trademarks and

   business, general litigation strategies and intentional disregard of statutory and judicial law

   (including the rights and safeguards afforded to both intellectual property owners and internet

   service providers) show a clear intent by Plaintiffs to use their intellectual property rights and the

   legal system for purposes other than which they were intended. Specifically, but without

   limitation, Plaintiffs are using their intellectual property rights, the court system and this lawsuit

   (along with a score of other lawsuits filed around the country) to extract settlement payments

   from innocent parties like ISP Defendants, instead of working within the structures of law to

   properly protect their rights. Additionally, on information and belief, certain of the files in suit

   were uploaded by the Plaintiffs’ own affiliates.



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           3.      ISP Defendants’ actions and omissions as alleged, which ISP Defendants deny,

   constitute fair use, and as such, the Complaint, in whole or in part, must fail. Specifically, but

   without limitation, the appearance of Plaintiffs’ trademarks and trade names used in conjunction

   or relation with Plaintiffs’ actual works constitute traditional fair use and/or nominative fair use.

   In addition, the Plaintiffs have failed to properly consider whether the individuals posting to the

   websites referenced in the Complaint were entitled to do so under the doctrine of fair use.

           4.      The Complaint is barred, in whole or in part, by lack of scienter and/or because

   the alleged infringement was innocent. Specifically, but without limitation, to the extent that ISP

   Defendants engaged in the infringement of Plaintiffs’ intellectual property rights, which ISP

   Defendants deny, such infringement was unintentional and without knowledge and therefore ISP

   Defendants are either not liable for such infringements or the damages that may be obtained

   against them are limited.

           5.      The Complaint is barred, in whole or in part, because any damages to Plaintiffs

   were not the proximate result of ISP Defendants’ actions or omissions. Specifically, but without

   limitation, ISP Defendants engaged in no conduct or omissions which resulted in any damages to

   Plaintiffs which were a natural, direct and uninterrupted consequence of their actions or

   omissions. To the contrary, to the extent Plaintiffs suffered any damages, they were as a result of

   the actions and omissions of third parties (e.g., those individuals who allegedly uploaded

   Plaintiffs’ works, trademarks and trade names).

           6.      The Complaint is barred, in whole or in part, because ISP Defendants do not host

   the websites at issue in this litigation and allegations to the contrary violate Plaintiffs’ duties of

   reasonable investigation under F.R.C.P. 11.




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           7.      The Complaint is barred, in whole or in part, because ISP Defendants do not

   exercise any control over (and could not possibly exercise control over) the content that appears

   at the websites at issue in this litigation and allegations to the contrary violate Plaintiffs’ duties of

   reasonable investigation under F.R.C.P. 11.

           8.      Plaintiffs are not entitled to injunctive relief because they have not suffered

   irreparable harm. Specifically, but without limitation, to the extent that Plaintiffs have suffered

   any harm, which ISP Defendants deny, any such harm can be fully remedied by monetary

   damages only.

           9.      Plaintiffs cannot recover damages from ISP Defendant to the extent that damages

   alleged by Plaintiffs are speculative or uncertain. Specifically, but without limitation, Plaintiffs

   are not entitled to actual damages because it is impossible with any certainty to demonstrate that

   they lost any actual profits from the alleged infringement or that ISP Defendants made any

   profits attributable directly to the alleged infringement.

           10.     Plaintiffs cannot recover damages from ISP Defendants to the extent that

   Plaintiffs failed to mitigate their alleged damages. Specifically, but without limitation, to the

   extent that Plaintiffs failed to promptly report any alleged infringement they learned about on the

   websites at issue in this litigation and therefore allowed such alleged infringements to stay on

   such websites, Plaintiffs failed to mitigate their alleged damages.

           11.     Plaintiffs have failed to comply with the requirements of the Digital Millennium

   Copyright Act (“DMCA”) and, as such, the Complaint must fail in whole or in part.

   Specifically, but without limitation, ISP Defendants are entitled to the safe harbors of the DMCA

   and ISP Defendants are not liable for monetary relief or injunctive relief (except as explicitly

   provided therein) unless the conditions of the DMCA have been met, including, without



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   limitation, that Plaintiffs first notify ISP Defendants of a claimed infringement and afford the

   proper time for ISP Defendants to respond to such notification. In addition, the Plaintiffs failed

   to consider the fair use doctrine before sending takedown notices and/or initiating the present

   litigation.

           12.    ISP Defendants are entitled to the safe harbor of the Digital Millennium

   Copyright Act and, as such, the Complaint must fail in whole or in part. Specifically, but

   without limitation, ISP Defendants have, inter alia, registered an agent with the copyright office

   for the receipt of takedown notices, do not know of any specific instances of infringement on the

   websites and when they receives knowledge or notification work expeditiously to remove such

   instances, accommodate and do not interfere with standard technical measures to protect

   copyrights, have adopted, reasonably implemented and informed users of a repeat infringer

   policy and do not receive financial benefit directly attributable to any allegedly infringing

   material.

           13.    The Complaint fails in whole or in part because the alleged infringements were

   neither the result of the actions of ISP Defendants, nor within ISP Defendants’ reasonable

   control. Specifically, but without limitation, if any material was available on the websites at

   issue in this litigation infringed upon Plaintiffs’ rights, they were not made available by ISP

   Defendants and could not be reasonably controlled by ISP Defendants. Under precedent from

   this Court, the actions of the ISP Defendants do not constitute direct infringement.

           14.    ISP Defendants’ actions and omissions were lawful, justified and privileged.

   Specifically, but without limitation, ISP Defendants acted in all times in accordance with the

   provisions of the Digital Millennium Copyright Act and therefore cannot be liable for claims of

   copyright infringement. Furthermore, ISP Defendants cannot be liable for the actions and



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   omissions of the users, who are third parties not controlled by ISP Defendants, of the websites

   owned and operated by third parties not controlled by ISP Defendants.

          15.     The Complaint fails, in whole or in part, because ISP Defendants lacked the

   necessary volition required to state a claim for direct copyright infringement. Specifically, but

   without limitation, because ISP Defendants themselves did not make available any of the

   allegedly infringing works on the websites, but on the contrary such works were uploaded to

   third-party owned and operated websites by yet other third parties, ISP Defendants cannot be

   liable for direct copyright infringement.

          16.     The Complaint is barred, in whole or in part, because the accused actions do not

   create any likelihood of confusion. Specifically, but without limitation, no reasonable consumer

   would be confused as to any affiliation as between ISP Defendants and Plaintiffs or be confused

   as to the origin, producer or manufacturer of the works on the websites at issue in this litigation.

          17.     Without admitting that the Complaint states a claim, any remedies are limited to

   prevent an overlapping or duplicative recovery pursuant to the various claims against ISP

   Defendants or for any alleged single wrong. Specifically, but without limitation, Plaintiffs have

   alleged multiple alternative theories of liabilities against ISP Defendants for the same single

   alleged wrongs, and are not entitled to multiple damages for the same as they would constitute

   overlapping or duplicative recovery.

          ISP Defendants have not knowingly or intentionally waived any applicable affirmative

   defenses and reserve the right to assert and rely on such other applicable affirmative defenses as

   may become available or apparent during discovery proceedings. ISP Defendants further reserve

   the right to amend their answer and/or affirmative defenses accordingly and/or to delete




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   affirmative defenses that they determine are not applicable during the course of subsequent

   discovery.

     ISP DEFENDANTS DEMAND A TRIAL BY JURY ON ALL CLAIMS SO TRIABLE




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    Respectfully submitted:

    /s/ Valentin Gurvits                  /s/ Brady J. Cobb
    Valentin D. Gurvits (pro hac vice     Brady J. Cobb, Esquire
    application forthcoming)              Florida Bar No. 031018
    Matthew Shayefar (pro hac vice        COBB EDDY, PLLC
    application forthcoming)
    BOSTON LAW GROUP, PC                  642 Northeast Third Avenue
    825 Beacon Street, Suite 20           Fort Lauderdale, Florida 33304
    Newton Centre, MA 02459               Telephone (954) 527-4111
    Telephone: (617) 928-1804             Facsimile (954) 900-5507
    Facsimile: (617) 928-1802             bcobb@cobbeddy.com
    vgurvits@bostonlawgroup.com
    matt@bostonlawgroup.com

    /s/ Evan Fray-Witzer
    Evan Fray-Witzer (pro hac vice
    application forthcoming)
    CIAMPA FRAY-WITZER, LLP
    20 Park Plaza, Suite 505
    Boston, MA 02116
    Telephone: (617) 426-0000
    Facsimile: (617) 423-4855
    Evan@CFWlegal.com

    Attorneys for Defendants
    Webzilla Inc. and WZ Communications
    Inc.

    Dated: December 16, 2015




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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing was served electronically
   via the CM/ECF electronic filing system on all counsel or parties of record on the attached
   service list this 16th day of December, 2015.
                                                            /s/ Brady J. Cobb
                                                            Brady J. Cobb

                                           SERVICE LIST
                                         1:15-cv-24293-MGC
   Aaron Behar, Esquire
   Jaclyn Behar, Esquire
   BEHAR BEHAR
   1840 North Commerce Parkway
   Suite One
   Weston, Florida 33326
   Telephone: (954) 688-7642
   Facsimile: (954) 332-9260
   AB@BeharBehar.com
   JB@BeharBehar.com




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